Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 1 of 138 PageID #: 1624
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 2 of 138 PageID #: 1625
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 3 of 138 PageID #: 1626
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 4 of 138 PageID #: 1627
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 5 of 138 PageID #: 1628
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 6 of 138 PageID #: 1629
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 7 of 138 PageID #: 1630
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 8 of 138 PageID #: 1631
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 9 of 138 PageID #: 1632
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 10 of 138 PageID #:
                                    1633
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 11 of 138 PageID #:
                                    1634
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 12 of 138 PageID #:
                                    1635
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 13 of 138 PageID #:
                                    1636
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 14 of 138 PageID #:
                                    1637
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 15 of 138 PageID #:
                                    1638
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 16 of 138 PageID #:
                                    1639
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 17 of 138 PageID #:
                                    1640
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 18 of 138 PageID #:
                                    1641
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 19 of 138 PageID #:
                                    1642
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 20 of 138 PageID #:
                                    1643
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 21 of 138 PageID #:
                                    1644
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 22 of 138 PageID #:
                                    1645
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 23 of 138 PageID #:
                                    1646
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 24 of 138 PageID #:
                                    1647
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 25 of 138 PageID #:
                                    1648
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 26 of 138 PageID #:
                                    1649
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 27 of 138 PageID #:
                                    1650
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 28 of 138 PageID #:
                                    1651
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 29 of 138 PageID #:
                                    1652
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 30 of 138 PageID #:
                                    1653
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 31 of 138 PageID #:
                                    1654
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 32 of 138 PageID #:
                                    1655
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 33 of 138 PageID #:
                                    1656
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 34 of 138 PageID #:
                                    1657
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 35 of 138 PageID #:
                                    1658
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 36 of 138 PageID #:
                                    1659
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 37 of 138 PageID #:
                                    1660
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 38 of 138 PageID #:
                                    1661
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 39 of 138 PageID #:
                                    1662
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 40 of 138 PageID #:
                                    1663
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 41 of 138 PageID #:
                                    1664
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 42 of 138 PageID #:
                                    1665
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 43 of 138 PageID #:
                                    1666
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 44 of 138 PageID #:
                                    1667
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 45 of 138 PageID #:
                                    1668
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 46 of 138 PageID #:
                                    1669
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 47 of 138 PageID #:
                                    1670
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 48 of 138 PageID #:
                                    1671
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 49 of 138 PageID #:
                                    1672
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 50 of 138 PageID #:
                                    1673
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 51 of 138 PageID #:
                                    1674
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 52 of 138 PageID #:
                                    1675
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 53 of 138 PageID #:
                                    1676
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 54 of 138 PageID #:
                                    1677
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 55 of 138 PageID #:
                                    1678
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 56 of 138 PageID #:
                                    1679
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 57 of 138 PageID #:
                                    1680
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 58 of 138 PageID #:
                                    1681
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 59 of 138 PageID #:
                                    1682
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 60 of 138 PageID #:
                                    1683
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 61 of 138 PageID #:
                                    1684
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 62 of 138 PageID #:
                                    1685
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 63 of 138 PageID #:
                                    1686
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 64 of 138 PageID #:
                                    1687
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 65 of 138 PageID #:
                                    1688
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 66 of 138 PageID #:
                                    1689
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 67 of 138 PageID #:
                                    1690
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 68 of 138 PageID #:
                                    1691
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 69 of 138 PageID #:
                                    1692
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 70 of 138 PageID #:
                                    1693
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 71 of 138 PageID #:
                                    1694
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 72 of 138 PageID #:
                                    1695
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 73 of 138 PageID #:
                                    1696
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 74 of 138 PageID #:
                                    1697
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 75 of 138 PageID #:
                                    1698
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 76 of 138 PageID #:
                                    1699
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 77 of 138 PageID #:
                                    1700
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 78 of 138 PageID #:
                                    1701
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 79 of 138 PageID #:
                                    1702
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 80 of 138 PageID #:
                                    1703
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 81 of 138 PageID #:
                                    1704
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 82 of 138 PageID #:
                                    1705
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 83 of 138 PageID #:
                                    1706
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 84 of 138 PageID #:
                                    1707
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 85 of 138 PageID #:
                                    1708
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 86 of 138 PageID #:
                                    1709
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 87 of 138 PageID #:
                                    1710
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 88 of 138 PageID #:
                                    1711
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 89 of 138 PageID #:
                                    1712
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 90 of 138 PageID #:
                                    1713
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 91 of 138 PageID #:
                                    1714
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 92 of 138 PageID #:
                                    1715
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 93 of 138 PageID #:
                                    1716
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 94 of 138 PageID #:
                                    1717
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 95 of 138 PageID #:
                                    1718
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 96 of 138 PageID #:
                                    1719
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 97 of 138 PageID #:
                                    1720
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 98 of 138 PageID #:
                                    1721
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 99 of 138 PageID #:
                                    1722
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 100 of 138 PageID #:
                                     1723
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 101 of 138 PageID #:
                                     1724
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 102 of 138 PageID #:
                                     1725
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 103 of 138 PageID #:
                                     1726
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 104 of 138 PageID #:
                                     1727
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 105 of 138 PageID #:
                                     1728
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 106 of 138 PageID #:
                                     1729
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 107 of 138 PageID #:
                                     1730
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 108 of 138 PageID #:
                                     1731
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 109 of 138 PageID #:
                                     1732
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 110 of 138 PageID #:
                                     1733
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 111 of 138 PageID #:
                                     1734
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 112 of 138 PageID #:
                                     1735
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 113 of 138 PageID #:
                                     1736
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 114 of 138 PageID #:
                                     1737
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 115 of 138 PageID #:
                                     1738
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 116 of 138 PageID #:
                                     1739
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 117 of 138 PageID #:
                                     1740
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 118 of 138 PageID #:
                                     1741
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 119 of 138 PageID #:
                                     1742
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 120 of 138 PageID #:
                                     1743
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 121 of 138 PageID #:
                                     1744
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 122 of 138 PageID #:
                                     1745
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 123 of 138 PageID #:
                                     1746
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 124 of 138 PageID #:
                                     1747
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 125 of 138 PageID #:
                                     1748
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 126 of 138 PageID #:
                                     1749
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 127 of 138 PageID #:
                                     1750
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 128 of 138 PageID #:
                                     1751
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 129 of 138 PageID #:
                                     1752
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 130 of 138 PageID #:
                                     1753
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 131 of 138 PageID #:
                                     1754
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 132 of 138 PageID #:
                                     1755
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 133 of 138 PageID #:
                                     1756
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 134 of 138 PageID #:
                                     1757
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 135 of 138 PageID #:
                                     1758
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 136 of 138 PageID #:
                                     1759
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 137 of 138 PageID #:
                                     1760
Case 1:16-cv-01627-CBA-RLM Document 55-8 Filed 01/29/18 Page 138 of 138 PageID #:
                                     1761
